  Case: 1:20-cr-00077-TSB Doc #: 139 Filed: 11/09/22 Page: 1 of 4 PAGEID #: 3773




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

 UNITED STATES OF AMERICA                      :       CASE NO. 1:20-CR-77
                                               :
                                               :       JUDGE TIMOTHY BLACK
               v.                              :
                                               :       MOTION IN LIMINE TO PRECLUDE
                                               :       REFERENCES TO AND COMMENTS
 LARRY HOUSEHOLDER, et al.,                    :       REGARDING STATEMENTS BY
                                               :       GOVERNMENT ATTORNEYS
           Defendants.                         :       RELATING TO THIS CASE
                                               :


       The United States submits this Motion in Limine to preclude defense counsel and the

defendants from referencing or making comments in front of the jury regarding pretrial statements

by the government.

       Defendant Matthew Borges has made a number of representations to the media and on his

website relating to post-charge communication made by the government, including statements by

government attorneys through correspondence with Borges’ counsel and in plea negotiations, and

statements made by former U.S. Attorney David Devillers.           These pretrial statements are

inadmissible and both the defense and the defendants should be precluded from referencing any

such statements in front of the jury.

       1. Communications Involving Counsel and the Government

       After the Indictment in this case, Borges and his counsel met with the government a number

of times in an attempt to resolve the matter through a plea. This included a reverse proffer where

government attorneys presented certain evidence relevant to the case and four separate proffers of

information by Borges to government attorneys and agents. These meetings led to follow-up

communications between the government and Borges’ counsel. Following these communications




                                                   1
    Case: 1:20-cr-00077-TSB Doc #: 139 Filed: 11/09/22 Page: 2 of 4 PAGEID #: 3774




and the inability to reach a plea, Borges began making personal attacks against government

attorneys and the FBI case agent.

        None of this communication should be referenced at trial – by defense counsel or by

Borges, should he testify. Any statements made by the government to Borges or his counsel during

these meetings and related plea discussions are irrelevant to any fact of consequence at trial—

indeed they have no probative value at all regarding Borges’ guilt or innocence. See Fed. R. Evid.

401; United States v. Pena, No. 20-CR-01903 MV, 2022 WL 1102455, at *1 (D.N.M. Apr. 12,

2022) (excluding plea negotiations because “[w]hether the government extended a plea offer to

Mr. Pena is irrelevant to the issues the jury will be called upon to decide”); United States v. Fell,

372 F. Supp. 2d 773, 783–84 (D. Vt. 2005), aff’d, 531 F.3d 197 (2d Cir. 2008) (same). As the

Court will instruct the jury, evidence will come through witnesses testifying under oath and

admissible exhibits relating to the racketeering enterprise charged in the Indictment, not statements

or arguments by lawyers. See Sixth Cir. Pattern Inst. 1.04. Further, any statements made by the

government that are offered by the defendant at trial for the truth of the statement constitute

impermissible hearsay. Fed. R. Evid. 801(c). More importantly, Government prosecutors also

will not be testifying as witnesses at trial, and, to the extent the defense or the defendant attempts

to reference in any way these communications or further these personal attacks at trial, the

government has no way to respond, which is fundamentally unfair. See Fed. R. Evid. 403.

        The Court should thus preclude the defense or the defendant should he testify from

referencing in any way statements by the government to Borges and his counsel. 1


1
  The same is not true for Borges’ statements to the government during proffer meetings.
Statements made by a defendant during plea negotiations are generally inadmissible. See Fed. R.
Evid. 410; Fed. R. Crim. P. 11(f). But a defendant can waive these protections. United States v.
Shannon, 803 F.3d 778, 783 (6th Cir. 2015). Here, Borges signed a proffer agreement that “waives
any argument that proffer information is governed by Federal Rule of Procedure 11(f) or Federal
Rule of Evidence 410” and “also waives any argument to suppress the proffer information.” The

                                                  2
  Case: 1:20-cr-00077-TSB Doc #: 139 Filed: 11/09/22 Page: 3 of 4 PAGEID #: 3775




       2. Statements by Former U.S. Attorney DeVillers

       On his website, Borges claimed that former U.S. Attorney DeVillers made false statements

and took other actions relating to this case, including statements during press conferences and

media statements after the charge in this case was unsealed. He makes these assertions on his

website to support his belief that DeVillers and others were furthering a scheme to enact revenge

on Borges through the charge in the Indictment.

       Like the statements referenced above, comments to the press discussing the charge in this

case are entirely irrelevant—they have no bearing on the actual evidence that will be presented at

trial. Fed. R. Evid. 401. What matters for the jury is the evidence before them, not the

characterizations (whether correct or not) of that evidence or the law by the then-U.S. Attorney.

See United States v. Sittenfeld, No. 1:20-CR-142, 2022 WL 2192955, at *16 (S.D. Ohio June 17,

2022) (excluding prosecutor’s statements at press conference because “[t]he statements at the press

conference are not evidence; indeed, the allegations in the Indictment itself are not evidence.”).

       Further, any suggestion by Borges or his counsel that the charge against Borges was

somehow politically motivated is improper. Borges may not pursue a selective prosecution claim

at trial. United States v. Abboud, 438 F.3d 554, 579 (6th Cir. 2006). Such a claim must be

presented through a pretrial motion under Federal Rule of Criminal Procedure 12, but Borges has

not done so—and for good reason, because it would fail. And, for the reasons set forth more fully

in the government’s Motion in Limine precluding jury nullification arguments, Borges may not be

permitted to backdoor this argument through suggestion or inference at trial, by referencing action



proffer agreement allows the government to use proffer information provided by Borges where,
among other things, Borges subsequently takes a position inconsistent with proffer information, or
where Borges lied, made intentional misstatements, or withheld information during the proffer.
The government will alert the Court outside the presence of the jury before mentioning or using
any proffer information at trial.

                                                  3
  Case: 1:20-cr-00077-TSB Doc #: 139 Filed: 11/09/22 Page: 4 of 4 PAGEID #: 3776




by the former U.S. Attorney or otherwise. (See Gov. Mot. to Preclude Jury Nullification at 2–6.)

       For these reasons, the Court should grant the government’s motion.

                                                     Respectfully submitted,

                                                     KENNETH L. PARKER
                                                     United States Attorney

                                                     /s/_Matthew C. Singer____________
                                                     MATTHEW C. SINGER (IL 6297632)
                                                     EMILY N. GLATFELTER (0075576)
                                                     Assistant United States Attorneys
                                                     221 East Fourth Street, Suite 400
                                                     Cincinnati, Ohio 45202
                                                     (513) 684-3711




                                CERTIFICATE OF SERVICE

   I hereby certify that a copy of the foregoing Motion in Limine was filed electronically this 9th
day of November, 2022, and served upon all counsel of record via the Court’s CM/ECF system.

                                             /s/_Matthew C. Singer____________
                                             MATTHEW C. SINGER (IL 6297632)
                                             Assistant United States Attorney




                                                4
